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                                                                                                                                        2/25/2020
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I


                                          UNITED STATES DISTRICT COURT
                                                                District of Montana
                                                                          )
               UNITED STATES OF AMERICA                                   )    JUDGMENT IN A CRIMINAL CASE
                          v.                                              )
                                                                          )
               GERALD ALLEN HILER, a/k/a Teg                                   Case Number: CR 19-06-H-SEH-2
                                                                          )
                                                                          )    USM Number: 17763-046
                                                                          )
                                                                          )     Peter A. Leander (Appointed)
                                                                          )    Defendant's Attorney
THE DEFENDANT:
tt1 pleaded guilty to count(s)        II and Ill
Dpleaded nolo contendere to count(s)
 which was accepted by the court.
Dwas found guilty on count(s)
 after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
18 U.S.C. § § 1951(a) and 2       Robbery Affecting Commerce                                                3/8/2019                       II
                                  Possession of a Firearm in Furtherance of a Crime of Violence             3/8/2019                      Ill



       The defendant is sentenced as provided in pages 2 through                7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
DThe defendant has been found not guilty on count(s)
tt1 Count(s)    ____________ @ is                                 Dare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lf ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                          2/25/2020




                                                                                      Sam E. Haddon, United States District Judge
                                                                         Name and Title of Judge


                                                                                                         2/25/2020
                                                                         Date
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